                                        Case 1:21-mc-00194-KPF Document 4 Filed 02/18/21 Page 1 of 3

                                                                                 MI S C E L L A N E O U S C A S E C O V E R S H E E T


P L AI N TI F F S                                                                                                  DEFE N D A NTS

 Br e a ki n g Media
 Breaking       M e di a Inc.
                         I n c. d/b/a
                                d/ b/ a Above
                                        A b o v e the
                                                  t h e Law,
                                                        L a w,                                                  E v a n P.
                                                                                                                Evan    P. Jowers,
                                                                                                                           J o w er s, Respondent
                                                                                                                                       R e s p o n d e nt
 P etiti o n er
 Petitioner

Att or n e y’ s     ( Fir m N a m e, A d dr e s s, a n d T el e p h o n e N u m b er)                              Att or n e y s (If K n o w n)
 Mill er KKorzenik
  Miller    or z e ni k SSommers
                          o m m er s RRayman
                                        a y m a n LLLP
                                                    LP                                                          T a ul er Smith
                                                                                                                Tauler      S mit h LLP
                                                                                                                                     LL P
 11501
   5 0 1 Br  o a d w a y, ##2015,
          Broadway,         2 0 1 5, NNY
                                       Y NNYY 110036
                                                 0036                                                           6 2 6 Wilshire
                                                                                                                626    Wil s hir e Blvd.,
                                                                                                                                    Bl v d., #510,
                                                                                                                                             # 5 1 0, LLos
                                                                                                                                                        o s Angeles
                                                                                                                                                            A n g el e s CCA
                                                                                                                                                                           A 990017
                                                                                                                                                                               0017
 2212-752-9200
   1 2- 7 5 2- 9 2 0 0                                                                                          2 1 3- 9 2 7- 9 2 7 0
                                                                                                                213-927-9270

D E S C RI P TI O N O F C A S E                                                                    H a s t his or a si mil ar c a s e b e e n pr e vi o u sl y fil e d i n S D N Y ?
 MMotion
   oti o n TTo  o QQuash
                    u a s h Non-Party
                             N o n- P art y Subpoena
                                              Subpoena
 oon
   n gr   o u n d s of,
       grounds       of, aamong
                            m o n g others,
                                     ot h er s, Reporters'
                                                R e p ort er s'
 Pri vil e g e
  Privilege                                                                                        No?      ✔✔     Yes?       ✔        J u d g e P r e vi o u sl y A s si g n e d _ _ _ _ _ _ _ _ _ _ _ _ _ _

                                                                                                   If y e s, w a s t hi s c a s e: V ol.      ✔        I n v ol.    ✔     Di s mi s s e d. N o   ✔     Yes      ✔
                                                                                                   If y e s, gi v e d at e                                    & C a s e N o.

N AT U RE OF C ASE

      [✔ ]   M      0 8 -8 5 M oti o n to C o m p el                                                                         [ ✔ ] M 2 6 -2 A p pli c ati o n t o E nf or c e A d mi ni str ati v e Or d er
      [4
       ✔]    M      0 8 -8 5 M oti o n to Q u a s h                                                                                  R ul e 5 A R ul e of Di vi si o n of B u si n e s s a m o n g Di stri ct
      [✔ ]   M      0 8 -8 6 Int er n et I nfri n g e m e nt                                                                         Judges
      [✔ ]   M      0 8 -8 8 S ur et y C o m p a ni e s
                                                                                                                             [✔ ]   M 2 8 W arr a nt f or E ntr y & I n s p e cti o n of Pr e mi s e s

      [✔ ]   M      0 8 - 42 5 S ur eti e s Pr o c e e di n g s
                                                                                                                             [✔ ]   M 2 9 Pri v a c y A ct A p pli c ati o n
                                                                                                                             [✔ ]   M 3 0 Pri v a c y A ct A p pli c ati o n

      [✔ ]   M   1 1 - 03 S E C Liti g ati o n to Fr e e z e A c c o u nt
                                                                                                                             [✔ ]   M 3 1 Or d er of C o m m o dit y E x c h a n g e C o m mi s si o n
                                                                                                                                     Dir e cti n g P er s o n t o P a y M o n e y
      [✔ ]   M   1 1 - 18 8 G J S u b p o e n a s - U n s e al e d
                                                                                                                             [✔ ]   M 3 2 P etiti o n f or Writ t o Pr o d u c e F e d er al Pri s o n er i n
      [✔ ]   M   1 1 - 18 9 G J S u b p o e n a s - S e al e d                                                                       St at e C o urt
      [✔ ]   M   1 6 -8 8 S al e of U n cl ai m e d S e a m e n’ s ’ Eff e ct s                                              [✔ ]   M 3 3 I n s p e cti o n W arr a nt - D e p art m e nt of E n er g y
      [✔ ]   M   1 8 -6 6 F orf eit ur e Pr o c e e di n g s - F u n d s H el d in tr u st.                                  [✔ ]   M 3 4 Or d er of A n ot h er Di stri ct C o urt t h at t h e St at e
              28 U S C 1746                                                                                                          C o urt Pr o d u c e
      [✔ ]   M 1 8 -3 0 2 R e gi str ati o n of a J u d g m e nt fr o m A n ot h er                                          [✔ ]   M 3 5 Or d er t o St a y Tr a n sf er of F e d er al Pri s o n er
              Di stri ct
                                                                                                                             [✔ ]   M 3 6 N ati o n al L a b or R el ati o n s B o ar d
      [✔ ]   M 1 8 -3 0 4 A d mi ni str ati v e S u b p o e n a Pr o c e e di n g s
                                                                                                                             [✔ ]   M 3 7 A p pli c ati o n t o R e -O p e n Ci vil C a s e( s) t h at ar e
      [✔ ]   M 1 8 -3 0 5 R e gi str ati o n of St u d e nt L o a n J u d g m e nt                                                   m or e t h a n 2 5 y e ar s ol d
      [✔ ]   M 1 8 -9 8 1 N o nj u di ci al Ci vil F orf eit ur e Pr o c e e di n g                                          [✔ ]   M 3 8 A p pli c ati o n f or R e a s si g n m e nt of B a n kr u pt c y
      [✔ ]   M 1 9 -2 5 Or d er A ut h ori zi n g I R S Offi c er t o E nt er                                                        Pr o c e e di n g
              Pr e mi s e s f or L e v y                                                                                     [✔ ]   M 3 9 A p pli c ati o n f or Di s c o v er y a n d I n s p e cti o n of
      [✔ ]   M 1 9 -5 8 G e n er al B o n d s i n A d mir alt y P ur s. t o L o c al                                                 D ef e n d a nt D et ai n e d i n F e d er al Pri s o n
              A d mir alt y R ul e 8                                                                                         [✔ ]   M 4 1 Or d er of R et ur n of 2 8: 2 2 5 4/ 2 2 5 5 P etiti o n
      [✔ ]   M 1 9 -6 3 R e c ei v er s - Pr o p ert y i n Ot h er Di stri ct s                                              [✔ ]   M 4 2 Or d er D e n yi n g St a y of D e p ort ati o n
      [✔ ]   M 1 9 -7 8 D e ni al t o S u e I n F or m a P a u p eri s                                                       [✔ ]   M 4 3 C o nt e m pt of C o urt i n B a n kr u pt c y
      [✔ ]   M 2 2 -1 D e si g n ati o n b y U. S. Att or n e y of I n di vi d u al t o                                      [✔ ]   M 4 4 Cl ai m C o m p e n s ati o n u n d er L o n g s h or e m e n &
              a c c e pt s er vi c e of s u m m o n s a n d c o m pl ai nt                                                           H ar b or W or k er s C o m p e n s ati o n A ct
      [✔ ]   M 2 2 -2 D e si g n ati o n of i n di vi d u al t o i s s u e c ertifi e d                                      [✔ ]   M 4 6 Or d er Fr o m A n ot h er Di stri ct f or P u bli c Vi e wi n g
              c o pi e s i n b a n kr u pt c y p art
                                                                                                                             [✔ ]   M 4 7 B a n kr u pt c y C a s e s - B ef or e A p p e al Fil e d
      [✔ ]   M 2 3 P etiti o n t o P er p et u at e T e sti m o n y
                                                                                                                             [✔ ]   M 4 7 B Tr a n s mi s si o n of Pr o p o s e d Fi n di n g s of F a ct a n d
      [✔ ]   M 2 5 -1 Or d er f or E ntr y t o Eff e ct L e v y - I R S M att er                                                     C o n cl u si o n s of L a w
      [✔ ]   M 2 5 -2 P er mi s si o n t o h a v e a c c e s s t o s af e d e p o sit                                        [✔ ]   M 4 8 A p pli c ati o n f or A p p oi nt m e nt of C o u n s el - N o C a s e
              boxes                                                                                                                  I n T hi s C o urt
      [✔ ]   M 2 6 -1 Pr o c e e di n g t o E nf or c e Or d er of A d mi ni str at or -                                     [✔ ]   M 4 9 Or d er D e n yi n g C o m m e n c e m e nt of Ci vil A cti o n
              N ati o n al Cr e dit U ni o n
                 R e v. 0 4 / 2 0 19
                             Case 1:21-mc-00194-KPF Document 4 Filed 02/18/21 Page 2 of 3
N A T U R E O F CA S E C O N TI N U E D

   [✔ ] M 5 1 Or d er t o S h o w C a u s e - C a s e B ei n g Tr a n sf err e d          [✔ ]   M  7 1 A p pli c ati o n r e: F e d er al R ul e s Cr. 1 1( e)( 2)
           fr o m N ort h er n Di stri ct of N e w Y or k                                 [✔ ]   M  7 2 Or d er of Att a c h m e nt of A n ot h er Di stri ct – E D N Y
   [✔ ]   M 5 2 A p pli c ati o n f or L e a v e t o Fil e a C o m pl ai nt               [✔ ]   M  7 3 S u b p o e n a t o G o v er n m e nt A g e n c y
   [✔ ]   M 5 3 Or d er B arri n g I n di vi d u al fr o m E nt eri n g                   [✔ ]   M  7 5 A p pli c ati o n f or Writ of G ar ni s h m e nt
           C o urt h o u s e B uil di n g
                                                                                          [✔ ]   M  7 6 C e ntr al Vi ol ati o n s B ur e a u
   [✔ ]   M 5 4 I m mi gr ati o n N at ur ali z ati o n - Or d er D el a yi n g
                                                                                          [✔ ]   M   7 7 A p pli c ati o n t o h a v e s u b p o e n a i s s u e d t o p er s o n
           D e p ort ati o n
                                                                                                  li vi n g i n t hi s di stri ct r e g ar di n g a cti o n i n f or ei g n c o u ntr y
   [✔ ]   M 5 5 P etiti o n f or A p p oi nt m e nt of I m p arti al U m pir e –                  or tri b u n al
           L a b or M a n a g e m e nt R el ati o n s A ct a n d Ot h er s
                                                                                          [✔ ]   M 9 0 Or d er of Att a c h m e nt
   [✔ ]   M 5 8 A p pli c ati o n f or E xt e n si o n of Ti m e t o Fil e P etiti o n
                                                                                          [✔ ]   M 9 3 L ett er s R o g at or y _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           f or R e m o v al
   [✔ ]   M 5 9 A p pli c ati o n t o Pr o d u c e F e d er al Pri s o n er i n St at e
                                                                                          [✔ ]   M 9 4 Ot h er _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           C o urt
   [✔ ]   M 6 7 N oti c e of E vi cti o n t o S q u att er s ( U S A C a s e s)
                                    Case 1:21-mc-00194-KPF Document 4 Filed 02/18/21 Page 3 of 3
D O Y O U C L AI M T HI S              C A S E I S R E L A T E D T O A MI S C E L L A N E O U S C A S E N O W P E N DI N G I N T H E S D N Y ? I F S O, S T A T E :


JU D G E                                                                       MI S C E L L A N E O U S C A S E N U M B E R

N O T E : Pl e a s e s u b mit at t h e ti m e of fili n g a n e x pl a n ati o n of w h y c a s e s a r e d e e m e d r el at e d

P L A I N TI F F( S) A D D R E S S( E S) A N D C O U N T Y(I E S)




D E F E N D A N T( S) A D D R E S S( E S ) A N D C O U N T Y(I E S)




D E F E N D A N T( S) A D D R E S S U N K N O W N
R E P R E S E N T A TI O N I S H E R E B Y M A D E T H A T, A T T HI S TI M E, I H A V E B E E N U N A B L E, WI T H R E A S O N A B L E DI LI G E N C E, T O A S C E R T AI N T H E
R E SI D E N C E A D D R E S S E S O F T H E F O L L O WI N G D E F E N D A N T S:




C H E C K O N E: A T L E A S T O N E P A R T Y I S P R O S E                 No   ✔
                                                                                  4        Yes      ✔
C H E C K O N E: T HI S A C TI O N S H O U L D B E A S SI G N E D T O                    W HI T E P L AI N S         ✔       M A N H ATT A N           ✔
                                                                                                                                                       4

 DATE                     SI G N A T U R E O F A T T O R N E Y O F R E C O R D                                   A D MI T T E D T O P R A C TI C E I N T HI S DI S T RI C T

                  / s/ T er e n c e P.
  2/ 1 7/ 2 0 2 1 /s/Terence
  2/17/2021                         P. Keegan
                                       Keegan                                                           ✔      U. S . G O V E R N M E N T A T T O R N E Y


                                                                                                        ✔      N O


                                                                                                        ✔
                                                                                                        4
                                                                                                                                                           002
                                                                                                                                                             2                 22014
                                                                                                                                                                                 014
                                                                                                               Y E S ( D A T E A D MI T T E D M O. _ _ _ _ _ _ _ Y R. _ _ _ _ _ _ _ _)
 R E C EI P T #
                                                                                                               A T T O R N E Y B A R C O D E # _ TTK0226
                                                                                                                                                  _ K_ _0 _2 _2 _6 _ _ _ _ _ _ _ _ _ _ _ _ _ _




 R u b y J. Kr aji c k, Cl er k of C o urt,                                                         D at e d

b y R e v. 0 4/ 2 0 1 9
